Case: 1:20-cr-00077-TSB Doc #: 176-9 Filed: 01/06/23 Page: 1 of 1 PAGEID #: 4194
                                                                                                                                2019R00448 - 162

CERTIFICATE               OF AUTHENTICITY OF BUSINESS RECORDS                                      PURSUANT           TO FEDERAL
                                      RULE OF EVIDENCE 902(11)



           I,        ?u6' u'      lt    We_(JL.                             , attest on penalty of criminal punishment           for
                                       Name
false statement or false attestation that I am/was the --12+-ff'.....>.<>.A.. ....S.•...
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                                                                                                  Title
of         (.J\)ssro c_)...So \"Lt.~b-                                                                                          from

      I   II    J   l--o Ilhrough              11 z_-z...{t.   t
                                                               0   D   ,and that I also am/was a custodian of records for that

same time period.

           I have reviewed the attached records.                          I certify that these records are the original or

duplicate copies of the original records in the custody of                               C i'\)'S'SY1Ja.d s nucl   \'._._

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           I further state that:

           A)           such records were made, at or near the time of the occurrence of the matters set

                        forth, by (or from information                   transmitted by) a person with knowledge of those

                        matters;

           B)           such records were kept in the course of a regularly conducted business activity;

           C)           the business activity made such records as a regular practice; and

           D)           if such record is not the original, such record is a duplicate of the original.

           I certify, under the penalties of perjury, that the foregoing is true and accurate, to the best

of my knowledge and belief.




Executed on            {; (,_.~        ~      7..b2 D
                        Date                                                             Signature




           Location




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